          Case 3:20-cv-01322-HES-JRK Document 8
                                              4 Filed 12/02/20
                                                      11/23/20 Page 1 of 2 PageID 71
                                                                                  54

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                         MiddleDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                           Florida

               HAND LOOSE BANDS LLC,                                 )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No.   3:20-cv-1322
                                                                     )
                    SHAKA BANDS LLC,                                 )
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                           Shaka Bands LLC
                                           c/o Michael P. Tyson, Registered Agent
                                           5151 Belfort Road, Bldg. 200
                                           Jacksonville, FL 32256



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           John R. Thomas, Esq.
                                           Smith Hulsey & Busey
                                           One Independent Drive, Suite 3300
                                           Jacksonville, FL 32202


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT
                                                                                                         AmandaJones

           November 23, 2020
Date:
                                                                                          Signature of Clerk or Deputy Clerk
Case 3:20-cv-01322-HES-JRK Document 8 Filed 12/02/20 Page 2 of 2 PageID 72
